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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Phoebe Wilson
                                    Plaintiff,
v.                                                     Case No.: 1:14−cv−06626
                                                       Honorable Charles P. Kocoras
Firstsource Advantage, LLC
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 9, 2014:


       MINUTE entry before the Honorable Charles P. Kocoras: Pursuant to Plaintiff's
Notice (Doc. no. [7]), this case is hereby dismissed without prejudice pursuant to F.R.C.P.
Rule 41. Status hearing set for 10/9/2014 is hereby stricken. Civil case terminated. Mailed
notice(yp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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